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Exhibit “A”
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From: tamika wilder <wildertamika@yahoo.com> °
Sent: Wednesday, August 7, 2019 6:59 PM
To: VJ Henville <VJ_Henville@fd.org>

Subject: Re: Wayne Patterson

My name is Tamika Wilder. | reside at 80 cedar creek dr. Covington,ga 30014. Mr. Patterson and | dated
for almost 2 years. In the beginning of the relationship he was very loving, caring, and fun to be around.
From what | know he has had a rough life with no real support or guidance, Hopefully he can get help
and not Just be punished. He has two children that love him dearly, and he would do anything for them.
Please find a way to help him get the help he needs.
